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                     EXHIBIT S
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             David S. Torborg/JonesDay            To “Draycott, J ustin (CIV)’ <Justin. Draycott©usdoj .gov>
             Extension 4-5562                      cc “Hilary A Ramsey” <haramseyJonesDay.com>, “Krause,
             09/02/2009 01:40 PM                      Kathy (CIV)” <Kathy.Krauseusdoj.gov>
                                                  bcc
                                              Subject Re: I


Justin,

Did you attend the May 26, 2009 teleconference that was held between counsel for Abbott, Dey, Roxane
and the Government before the May 28, 2009 hearing? The topic of these outstanding depositions was
discussed during that call. I know that Bunker and Ann attended (as did myself, Chris, and Jim Daly for
Abbott), but I do not know if you attended. If you did not, I recommend that you round up with Bunker and
Ann regarding what was discussed.

Thanks,
-Dave

“Draycott, Justin (CIV)” <Justin.Draycott©usdoj.gov>

             “Draycott, Justin (CIV)”
             <Justin .Draycottusdoj .gov>        To “David S. Torborg” <dstorborgJonesDay.com>, “Hilary A
                                                     Ramsey” <haramseyJonesDay.com>
             08/31/2009 04:29 PM                  cc “Krause, Kathy (CIV)” <Kathy. Krause@usdoj.gov>
                                             Subject




please see attached.Iattachment “Torborg46Aug3l-09.pdf’ deleted by David S. Torborg/JonesDayj




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